Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 1 of 57 PageID #: 187




               Exhibit G
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 2 of 57 PageID #: 188
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 3 of 57 PageID #: 189
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 4 of 57 PageID #: 190
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 5 of 57 PageID #: 191
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 6 of 57 PageID #: 192
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 7 of 57 PageID #: 193
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 8 of 57 PageID #: 194
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 9 of 57 PageID #: 195
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 10 of 57 PageID #: 196
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 11 of 57 PageID #: 197
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 12 of 57 PageID #: 198
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 13 of 57 PageID #: 199
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 14 of 57 PageID #: 200
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 15 of 57 PageID #: 201
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 16 of 57 PageID #: 202
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 17 of 57 PageID #: 203
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 18 of 57 PageID #: 204
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 19 of 57 PageID #: 205
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 20 of 57 PageID #: 206
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 21 of 57 PageID #: 207
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 22 of 57 PageID #: 208
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 23 of 57 PageID #: 209
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 24 of 57 PageID #: 210
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 25 of 57 PageID #: 211
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 26 of 57 PageID #: 212
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 27 of 57 PageID #: 213
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 28 of 57 PageID #: 214
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 29 of 57 PageID #: 215
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 30 of 57 PageID #: 216
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 31 of 57 PageID #: 217
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 32 of 57 PageID #: 218
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 33 of 57 PageID #: 219
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 34 of 57 PageID #: 220
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 35 of 57 PageID #: 221
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 36 of 57 PageID #: 222
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 37 of 57 PageID #: 223
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 38 of 57 PageID #: 224
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 39 of 57 PageID #: 225
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 40 of 57 PageID #: 226
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 41 of 57 PageID #: 227
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 42 of 57 PageID #: 228
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 43 of 57 PageID #: 229
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 44 of 57 PageID #: 230
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 45 of 57 PageID #: 231
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 46 of 57 PageID #: 232
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 47 of 57 PageID #: 233
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 48 of 57 PageID #: 234
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 49 of 57 PageID #: 235
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 50 of 57 PageID #: 236
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 51 of 57 PageID #: 237
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 52 of 57 PageID #: 238
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 53 of 57 PageID #: 239
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 54 of 57 PageID #: 240
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 55 of 57 PageID #: 241
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 56 of 57 PageID #: 242
Case 2:24-cv-01014   Document 1-8   Filed 12/09/24   Page 57 of 57 PageID #: 243
